                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: Della S. Mayfield                               BK NO. 21-22446 GLT
                                      Debtor(s)
                                                           Chapter 7
    Metropolitan Life Insurance Company
    c/o Community Loan Servicing, LLC
                                 Movant
                  vs.

    Della S. Mayfield
                                      Debtor(s)

    Jeffrey J. Sikirica,
                                      Trustee

                        CERTIFICATE OF SERVICE
         NOTICE OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE
                            COVID-19 PANDEMIC
    I, Maria Miksich, of KML Law Group, P.C., certify that I am, and at all times hereinafter mentioned
    was, more than 18 years of age and that on December 01, 2021, I served the above captioned
    pleading, filed in the proceeding on the parties at the addresses shown below;

    Debtor(s)                                              Attorney for Debtor(s)
    Della S. Mayfield                                      Corey J. Sacca, Bononi & Company
    219 Melzena Street                                     20 North Pennsylvania Avenue
    Springdale, PA 15144                                   Greensburg, PA 15601

                                                           Trustee
                                                           Jeffrey J. Sikirica
                                                           121 Northbrook Drive (VIA ECF)
                                                           Pine Township
                                                           Gibsonia, PA 15044




Method of Service: electronic means or first class mail

Dated: December 01, 2021


                                                                             /s/ Maria Miksich, Esquire
                                                                            Maria Miksich, Esquire
                                                                            Attorney I.D. No. 319383
                                                                            KML Law Group, P.C.
                                                                            BNY Mellon Independence
                                                                            Center
                                                                            701 Market Street, Suite 5000
                                                                            Philadelphia, PA 19106
                                                                            201-549-5366
                                                                            MMiksich@kmllawgroup.com
